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                                    UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF GEORGIA
                                            ATLANTA DIVISION

In re: WILLIAMS, MARY TORRENCE                           §        Case No. 20-62464-WLH
                                                         §
                                                         §
                                                         §
                      Debtor(s)


                                  NOTICE OF TRUSTEE’S FINAL REPORT AND
                                    APPLICATIONS FOR COMPENSATION
                                      AND DEADLINE TO OBJECT (NFR)

          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that S. Gregory Hays,
trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee’s Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                           1340 Richard B. Russell Bldg.
                                             75 Ted Turner Drive, SW
                                                Atlanta, GA 30303

          Pursuant to Third Amended and Restated General Order No. 24-2018, the Court may consider this
matter without further notice or a hearing if no party in interest files a response or objection within twenty-one
(21) days from the date of service of this notice. If you object to the relief requested in the pleadings, you must
timely file your objection with the Bankruptcy Clerk at U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive,
S.W., Atlanta, Georgia 30303, and serve a copy on the Trustee, S. Gregory Hays, 2964 Peachtree Road, NW,
Ste 555, Atlanta, GA 30305, and any other appropriate persons by the objection deadline. The response or
objection must explain your position and be actually received by the Bankruptcy Clerk within the required time.

         A hearing on the pleading has been scheduled for September 07, 2023. The Court will hold a hearing
on the pleading at 10:30 A.M. on September 07, 2023, Courtroom 1403, which may be attended in person or
via the Court’s Virtual Hearing Room. You may join the Virtual Hearing Room through the “Dial-in and Virtual
Bankruptcy Hearing Information” link at the top of the homepage of the Court’s website, www.ganb.uscourts.
gov, or the link on the judge’s webpage, which can also be found on the Court’s website. Please also review
the “Hearing Information” tab on the judge’s webpage for further information about the hearing. You should be
prepared to appear at the hearing via video, but you may leave your camera in the off position until the Court
instructs otherwise. Unrepresented persons who do not have video capability may use the telephone dial-in
information on the judge’s webpage.

          If an objection or response is timely filed and served, the hearing will proceed as scheduled. If you do
not file a response or objection within the time permitted, the Court may grant the relief requested without
further notice and without holding the scheduled hearing provided that an order approving the relief requested
is entered at least one business day prior to the scheduled hearing. If no objection is timely filed, but no order
is entered granting the relief requested at least one business day prior to the scheduled hearing, the hearing
will be held as scheduled.

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        Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may wish to consult one.

Date Mailed: 08/08/2023                                   By:: /s/ S. Gregory Hays
                                                                            Chapter 7 Trustee
S. Gregory Hays
2964 Peachtree Road, NW, Ste. 555
Atlanta, GA 30305
(404) 926-0060




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                                       UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF GEORGIA
                                               ATLANTA DIVISION

In re:WILLIAMS, MARY TORRENCE                                 §      Case No. 20-62464-WLH
                                                              §
                                                              §
                                                              §
                        Debtor(s)


                                     SUMMARY OF TRUSTEE’S FINAL REPORT
                                     AND APPLICATIONS FOR COMPENSATION

                   The Final Report shows receipts of :                              $                         19,800.00
                   and approved disbursements of:                                    $                            684.72
                   leaving a balance on hand of1:                                    $                         19,115.28

              Claims of secured creditors will be paid as follows:

  Claim       Claimant             Claim Asserted         Allowed Amount of        Interim Payments to             Proposed
  No.                                                                Claim                       Date               Payment
  4           Capital One                 8,041.15                   8,041.15                         0.00               0.00
              Auto Finance

                                                  Total to be paid to secured creditors:          $                      0.00
                                                  Remaining balance:                              $                 19,115.28

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                                Total           Interim          Proposed
                                                                              Requested       Payments to           Payment
                                                                                                    Date
  Trustee, Fees - S. Gregory Hays                                                2,730.00              0.00         2,730.00
  Trustee, Expenses - S. Gregory Hays                                              161.90              0.00           161.90
  Accountant for Trustee, Fees - Hays Financial Consulting,                      2,372.50              0.00         2,372.50
  LLC
  Accountant for Trustee, Expenses - Hays Financial                                 76.96              0.00            76.96
  Consulting, LLC
  Attorney for Trustee Fees (Other Firm) - Michael J. Bargar                       934.00              0.00           934.00

                    Total to be paid for chapter 7 administrative expenses:                       $                  6,275.36
                    Remaining balance:                                                            $                 12,839.92


           1The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest

      earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
      receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
      account of the disbursement of the additional interest.

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             Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                     Total             Interim       Proposed
                                                                       Requested         Payments to   Payment
                                                                                         Date

                                                         None

                  Total to be paid for prior chapter administrative expenses:                $                  0.00
                  Remaining balance:                                                         $             12,839.92

               In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $4,552.42 must be paid in advance of any dividend to general (unsecured)
      creditors.
               Allowed priority claims are:
  Claim      Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                      of Claim                 to Date                Payment
  9P-1       Internal Revenue Service                           0.00                      0.00                  0.00
  9P-2       Internal Revenue Service                           0.00                      0.00                  0.00
  9P-3       Internal Revenue Service                       4,552.42                      0.00             4,552.42

                                                 Total to be paid for priority claims:       $              4,552.42
                                                 Remaining balance:                          $              8,287.50

              The actual distribution to wage claimants included above, if any, will be the proposed
      payment less applicable withholding taxes (which will be remitted to the appropriate taxing
      authorities).
              Timely claims of general (unsecured) creditors totaling $251,356.71 have been allowed and
      will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 3.3 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim      Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                      of Claim                 to Date                Payment
  1          iHeartMedia                                        0.00                      0.00                  0.00
  2          APG-EAST, LLC                                  8,740.00                      0.00               288.17
  3          Entercom Communications                        5,992.50                      0.00               197.58
             Corp
  5          Bank of America, N.A.                          2,307.23                      0.00                76.07
  6          Capital One Bank (USA), N.A.                   4,693.31                      0.00               154.74
  7          Capital One Bank (USA), N.A.                     838.93                      0.00                27.66




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  Claim       Claimant                              Allowed Amount        Interim Payments              Proposed
  No.                                                      of Claim                 to Date              Payment
  8           Midwest Communications,                       3,578.50                  0.00                 117.99
              Inc.
  10          WUPA Television                             23,617.25                   0.00                 778.69
  11          First National Bank of Omaha                  3,992.59                  0.00                 131.64
  12          iHeart Media, Inc                           61,210.76                   0.00               2,018.18
  13          Bank of America, N.A.                         4,575.39                  0.00                 150.86
  14          WSB Radio                                   17,285.50                   0.00                 569.92
  15          Lamar Advertising Company                     7,410.00                  0.00                 244.32
  16          ATX MCA Fund I, LLC                        107,114.75                   0.00               3,531.68

                      Total to be paid for timely general unsecured claims:              $                8,287.50
                      Remaining balance:                                                 $                    0.00

               Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
       be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
       claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
       interest (if applicable).
              Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                              Allowed Amount        Interim Payments              Proposed
  No.                                                      of Claim                 to Date              Payment

                                                         None

                      Total to be paid for tardily filed general unsecured claims:       $                       0.00
                      Remaining balance:                                                 $                       0.00

                Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
       ordered subordinated by the Court totaling $944.35 have been allowed and will be paid pro rata only
       after all allowed administrative, priority and general (unsecured) claims have been paid in full. The
       dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if
       applicable).
                Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
       ordered subordinated by the Court are as follows:

  Claim       Claimant                              Allowed Amount        Interim Payments              Proposed
  No.                                                      of Claim                 to Date              Payment
  9U-1        Internal Revenue Service                          0.00                  0.00                     0.00
  9U-2        Internal Revenue Service                          0.00                  0.00                     0.00
  9U-3        Internal Revenue Service                        944.35                  0.00                     0.00




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                                           Total to be paid for subordinated claims: $                        0.00
                                           Remaining balance:                        $                        0.00




                                               Prepared By: /s/ S. Gregory Hays
                                                                         Chapter 7 Trustee
    S. Gregory Hays
    2964 Peachtree Road, NW, Ste. 555
    Atlanta, GA 30305
    (404) 926-0060




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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